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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA


United States of America,                            Crim. No. 08-072 (PJS/SRN)

               Plaintiff,

       v.                                            REPORT AND RECOMMENDATION

Timothy Conrad Rehak (01) and
Mark Paul Naylon (02),

               Defendants.


       John R. Marti and Joseph T. Dixon III, Office of the United States Attorney, 300 South
Fourth Street, Suite 600, Minneapolis, Minnesota 55415, for Plaintiff United States of America

      Kevin J. Short, Short Law Firm, 150 South Fifth Street, Suite 3260, Minneapolis,
Minnesota 55402; and Paul C. Engh, Engh Law Office, 220 South Sixth Street, Suite 215,
Minneapolis, Minnesota 55402, for Defendant Timothy Conrad Rehak

       Paul W. Rogosheske, Thuet Pugh Rogosheske & Atkins, Ltd., 222 Grand Avenue West,
Suite 100, South Saint Paul, Minnesota 55075, for Defendant Mark Paul Naylon
______________________________________________________________________________

SUSAN RICHARD NELSON, United States Magistrate Judge

       The above-entitled matter comes before the undersigned United States Magistrate Judge

on Timothy Conrad Rehak’s Motion to Dismiss Counts 1 Through 6 (Doc. No. 22), Motion to

Dismiss Count 7 (Doc. No. 23), Motion to Dismiss Count 8 (Doc. No. 24), and Motion to Strike

Surplusage (Doc. No. 25); and Defendant Mark Paul Naylon’s Motion to Suppress Evidence

(Doc. No. 34). This case has been referred to the undersigned for resolution of pretrial matters

pursuant to 28 U.S.C. § 636 and District of Minnesota Local Rule 72.1.

I.     BACKGROUND

       Defendants Timothy Conrad Rehak and Mark Paul Naylon were charged by Indictment

on March 4, 2008, of six counts of deprivation of honest services, in violation of 18 U.S.C.
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§ 1343 and § 1346; one count of theft of government funds, in violation of 18 U.S.C. § 641; and

one count of conspiracy to violate civil rights, in violation of 18 U.S.C. § 241. This Court held a

pretrial motion hearing on May 12, 2008, at which Federal Bureau of Investigation (FBI) Special

Agent Timothy Bisswurm testified. The Court also received several exhibits into evidence,

which are listed on a separate exhibit list attached to the exhibits.

       A.      The Factual Allegations in the Indictment Related to the Scheme to Defraud

       The following factual allegations are contained in the Indictment. Defendant Rehak was

previously employed as an officer with the St. Paul Police Department, assigned to the Special

Investigations Unit of the Ramsey County Sheriff’s Department. Defendant Naylon was

formerly the public information officer of the Ramsey County Sheriff’s Department. The

Indictment alleges that as part of their employment with state law enforcement agencies,

Defendants Rehak and Naylon owed their honest and faithful services to the state and its

citizens, but that Defendants devised a fraudulent scheme to unlawfully seize property and then

to conceal their unlawful actions.

       The Indictment lists five rules of conduct of the St. Paul Police Department that prohibit

using an official position for personal gain, failing to perform a duty imposed by law, making a

false report, failing to promptly submit a written report, and failing to inventory recovered

property. The Indictment lists seven similar rules of conduct enacted by the Ramsey County

Sheriff’s Department. The Indictment also implicates three Minnesota state statutes: Minn. Stat.

§ 626.863, which prohibits a person who is not a licensed peace officer from performing an act

reserved for such officers; Minn. Stat. § 626.52, subd. 2(1) and (5), which proscribes a person

from taking or concealing the property of another with the intent to exercise temporary control

and without the owner’s consent; and Minn. Stat. § 626.16, which requires a police officer who

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executes a search warrant to give a receipt to the person from whom the items were seized, or in

the absence of such a person, to leave a copy of the receipt in the location where the items were

seized.

          The Indictment next alleges the following details of the alleged scheme to defraud. In

November 2004, the FBI conducted an integrity test of Defendants through a cooperating

individual (CI). The CI contacted Defendant Rehak and told him that a drug trafficker was

attempting to recover drugs and currency that the trafficker had left in a hotel room. In fact,

there was no such drug trafficker, and the FBI had rented the hotel room. Defendants Rehak and

Naylon were working together at the time and went to the hotel. Defendants attempted to gain

entry into the room without a search warrant, and when a hotel clerk stopped them, they

contacted a Ramsey County Deputy to apply for a search warrant, which was issued later that

day.

          Defendants and the deputy executed the search warrant at about 3:30 p.m. While

searching the room, Defendant Rehak located a bag containing $13,500 inside a dresser. When

the deputy went into the bathroom, Defendant Naylon motioned for Defendant Rehak to give

him some of the money, and Defendant Rehak gave him $6,000, which Defendant Naylon placed

in his jacket pocket. Defendants then alerted the deputy to the seizure of the bag and showed

him the remaining $7,500 inside. The deputy and Defendant Rehak separately inventoried the

contents of the bag; neither counted the $6,000 that Defendant Naylon had placed in his pocket.

Defendants Naylon and Rehak did not tell the deputy about the $6,000. The deputy called a

canine unit to the scene, and the dog was instructed to sniff the $7,500 for the odor of narcotics.

Defendants did not tell the officer handling the canine about the other $6,000, and the canine was

not permitted to sniff that money. After the search was complete and Defendants had left the

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hotel, FBI agents entered and confirmed that the full $13,50 had been taken from the room.

       After the execution of the search warrant, Defendants allegedly became suspicious that a

drug trafficker would leave such a large amount of cash in a hotel room. They caused several

law enforcement databases to be searched for the name of the fictitious trafficker, but found no

such person, which allegedly alerted them to the possibility of an integrity test. Later that night,

Defendants each called the deputy who had assisted in the search and told him that an additional

$6,000 had been seized. They said that the money had been recovered from the box spring or

mattress of the bed in the hotel room. The next day, Defendants gave the $6,000 to the deputy,

who changed the inventory to reflect the full $13,500.

       In June 2005, the FBI conducted a second integrity test. The same CI called Defendant

Rehak on June 12, 2005, and said that a drug trafficker had left drugs and money in a vehicle.

The CI described the vehicle and its location. In truth, the FBI had parked the vehicle. Late that

night, at approximately 11:00 p.m., Defendants Rehak and Naylon were seen near the vehicle,

but they did not enter it. At 11:14 p.m., a query was submitted to a law enforcement database

from the St. Paul Police Department concerning the license plate number of the vehicle.

       The next day, the CI called Defendant Rehak and said that the vehicle had been moved

but that it still contained drugs and money. Defendant Naylon surveilled the car that afternoon

and wrote down the vehicle identification number. At approximately 5:16 p.m. that day, there

were several queries to official databases from the Ramsey County Sheriff’s Department about

the vehicle. The search results revealed that the vehicle had been stolen. Fourteen minutes later,

Defendants called a canine unit to the scene to sniff the vehicle, and the canine did not alert to

the presence of narcotics. Indeed, the FBI had left money inside the car, but no drugs. That

night, at approximately 10:00 p.m., Defendants returned to the parking lot and entered the

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vehicle. They found a bag inside the trunk, which contained money but no drugs. Allegedly

suspecting a second integrity test, Defendants decided to treat the incident as having found a

stolen vehicle, and they arranged for the car to be towed. All of the property, including the

money, was inventoried.

       B.      The Search of Defendant Naylon’s Office and Vehicle

       The following facts were elicited from the testimony and exhibits introduced at the

motion hearing. On February 2, 2007, FBI Special Agent Bisswurm asked Ramsey County

Sheriff Bob Fletcher for permission to search Defendant Naylon’s office at the Sheriff’s

Department and his squad car. Sheriff Fletcher told the agent that Defendant Naylon was on

vacation in Florida, but Sheriff Fletcher gave his consent to the search and signed a written

consent-to-search form. (Gov’t Ex. 1.) According to Ramsey County Sheriff’s Department

policy, all property of the department, including take-home squad cars, is subject to inspection at

any time without notice. (Gov’t Exs. 2, 3.)

       That night, Special Agent Bisswurm and two other agents went to Defendant Naylon’s

residence to search the car. They did not see the squad car outside, so Special Agent Bisswurm

knocked and rang the doorbell. Defendant Naylon’s adult children, a twenty-five year-old son

named Marco and a twenty-three year-old daughter, answered the door. The agents displayed

their credentials, explained the nature of the investigation, showed them the consent form, and

asked for permission to enter the property in order to search the vehicle. Defendant Naylon’s

children agreed to the search, said the car was in the garage, and gave the agents the car keys.

       Special Agent Bisswurm asked Marco Naylon to witness the search, and throughout the

search, Marco Naylon moved freely between the house and the garage. At times, he used the

telephone. About twenty minutes into the search, Marco told Special Agent Bisswurm that his

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father’s attorney was on the phone and wanted to speak with one of the officers. Special Agent

Bisswurm told the lawyer that the search was being conducted pursuant to a valid consent. The

lawyer did not ask the agent to stop the search, and neither Marco nor his sister ever withdrew

their consent to the search. All of the parties involved were cooperative and courteous.

II.    DISCUSSION

       A.      Motion to Dismiss Counts 1 Through 6

       Defendants1 move to dismiss Counts 1 through 6 of the Indictment, which charge them

with deprivation of honest services in violation of the wire fraud statute, 18 U.S.C. § 1343 and

§ 1346. Section 1343 provides in relevant part:

       Whoever, having devised or intending to devise any scheme or artifice to defraud,
       or for obtaining money or property by means of false or fraudulent pretenses,
       representations, or promises, transmits or causes to be transmitted by means of
       wire, radio, or television communication in interstate or foreign commerce, any
       writings, signs, signals, pictures, or sounds for the purpose of executing such
       scheme or artifice, shall be fined under this title or imprisoned not more than 20
       years, or both.

18 U.S.C. § 1343. “The essential elements of wire fraud are a scheme to defraud, the use of

interstate wires incident to the scheme, and an intent to cause harm.” United States v. Frank, 354

F.3d 910, 918 (8th Cir. 2004). A scheme to defraud includes a “scheme or artifice to deprive

another of the intangible right of honest services.” 18 U.S.C. § 1346. The statute does not

define the phrase “honest services,” and courts have grappled with the breadth of this phrase.

With respect to honest services owed by a public official, the Eighth Circuit has recently

identified two key considerations: “whether the public official misused a discretionary position


       1
        Defendant Naylon moved to join in Defendant Rehak’s pretrial motions, and the
Government did not oppose the joinder. The Court therefore granted the motion by separate
Order and will consider Defendant Rehak’s motions as also having been filed by Defendant
Naylon.

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and whether the official failed to disclose a material conflict.” United States v. Jennings, 487

F.3d 564, 577 (8th Cir. 2007) (citations omitted).

       Defendants’ position in seeking dismissal of the deprivation of honest services charges is

that the counts do not allege a criminal offense. In support of this position, Defendants rely

almost exclusively on United States Brown, 459 F.3d 509 (5th Cir. 2006). In that case, the

government accused the defendants, who were former employees of Enron and Merrill Lynch, of

defrauding Enron and its shareholders by causing Enron’s year-end earnings report to be

artificially inflated. Id. at 513. The court began its discussion by noting that “honest services”

may be owed to an employer under state law and includes fiduciary duties created by the

employment relationship. Id. at 519 (citations omitted). To prove that a breach of fiduciary duty

was an illegal fraud, some proof of detriment to the employer is required. Id. (citation omitted).

       The government had argued that the defendants breached their fiduciary duties to Enron

by not disclosing the full truth about the transaction, thereby causing the artificial inflation of

earnings, which resulted in personal benefits to the defendants and both benefits and detriments

to Enron. Id. at 520. The defendants, on the other hand, had argued that the outer boundaries of

what could be considered honest services were defined by the set of cases upholding convictions

under that theory, and that no factually similar case had been decided. Id. at 520 & n.9. The

court acknowledged that the wire fraud statute itself did not define the term “honest services” but

that the meaning of the phrase was defined by evolving case authority. Id. at 521 n.10. The

court then looked to a pivotal case from the Second Circuit, United States v. Rybicki, 354 F.3d

124 (2d Cir. 2003) (en banc), which concluded that cases upholding convictions for deprivation

of honest services could generally be categorized as resembling bribery or self-dealing. Id. at

521. The scheme as alleged by the government in Brown presented an atypical situation in that

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the dishonest conduct did not correlate to bribery or self-dealing; rather, the conduct was

concomitant with Enron’s own interests. Id. at 522. Indeed, Enron had intentionally aligned its

corporate goals with its employees’ financial interests. Id. The court thus concluded:

       Given that the only personal benefit or incentive originated with Enron itself - not
       from a third party as in the case of bribery or kickbacks, nor from one’s own
       business affairs outside the fiduciary relationship as in the case of self-dealing -
       Enron’s legitimate interests were not so clearly distinguishable from the corporate
       goals communicated to the Defendants (via their compensation incentives) that
       the Defendants should have recognized, based on the nature of our past case law,
       that the “employee services” taken to achieve those corporate goals constituted a
       criminal breach of duty to Enron. We therefore conclude that the scheme as
       alleged falls outside the scope of honest-services fraud.

Id.

       As the Government has noted, Brown differs in significant factual respects from this

case. Brown involved private actors, not public officials, as well as an entirely different scheme.

Nevertheless, invoking Brown, Defendants claim that a charge of honest services deprivation

cannot be predicated on mere violations of ethical codes, departmental policies, or even state

law. (Def. Rehak’s Reply at 3-4.) Defendants’ reliance on Brown is misplaced, however, as

Brown does not address this precise issue. Even more critically, Defendants’ position is at least

partially inconsistent with precedent from this circuit.

       If the Government proves a violation of state law at trial, this would be sufficient to show

a deprivation of honest services. See Jennings, 487 F.3d at 578. It is true, as both parties

acknowledge, that the Jennings court expressly declined to decide whether a violation of state

law is always necessary to prove a deprivation of honest services or whether a fiduciary duty can

arise from some other source. Id. at 577-78. Because this question is unresolved in this circuit,

the Court cannot conclude that the Government is foreclosed from attempting to show a breach

of fiduciary duty based on ethical codes or departmental policies, along with the state law

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violations alleged.2

       Defendants also argue that this case is similar to Brown because the victims in this case

also allegedly participated in the fraud, thereby aligning their interests with those of Defendants.

Equating Defendants with the Enron employees, and the citizens of Minnesota with Enron, is

nonsensical. How the state of Minnesota and its citizens could have benefitted from the alleged

actions of Defendants is unfathomable. They certainly did not benefit financially, as Enron did.

Accordingly, the Court finds this argument wholly unpersuasive.

       It would be remiss to conclude this discussion of Brown without noting one final, critical

distinction. Brown was decided post-trial, after the government had an opportunity to put its

evidence to the test. At this stage of this case, the Court cannot conclude that there are no set of

facts which could support a conviction for deprivation of honest services under the theory

advanced by the Government.3



       2
          A review of the law in other circuits is helpful only in that it reveals significant
discrepancies as to what the government must show in order to prove a deprivation of honest
services by a public official. The Third and Fifth Circuits require the government to show that
the scheme to defraud involved a violation of state law. United States v. Murphy, 323 F.3d 102,
116-17 (3rd Cir. 2003); United States v. Brumley, 116 F.3d 728, 734-35 (5th Cir. 1997) (en
banc). The Seventh Circuit does not require a violation of state law, but evidence that the
defendant breached his or her fiduciary duty and misused his or her public office for private
gain. See United States v. Bloom, 149 F.3d 649, 655 (7th Cir. 1998). In the First Circuit, the
government may show a breach of fiduciary duty either arising from statute or owed by a public
official to the public at large. United States v. Sawyer, 239 F.3d 31, 40, 41-42 (1st Cir. 2001);
United States v. Woodward, 149 F.3d 46, 62 (1st Cir. 1998). The Eleventh Circuit recently
upheld the conviction of a police officer for conspiring to deprive his honest services where the
officer breached his fiduciary duty in part by violating a police department regulation. United
States v. Woodard, 459 F.3d 1078, 1086-87 & n.8 (11th Cir. 2006); see also United States v.
deVegter, 198 F.3d 1324, 1328 (11th Cir. 1999) (noting that the inherent fiduciary duty to act in
the public’s best interest can support a conviction for deprivation of honest services).
       3
         Jennings was also decided post-trial. The issue presented was whether the evidence was
sufficient to support the defendant’s conviction. Jennings, 487 F.3d at 576.

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         In sum, Brown is factually and legally distinguishable from the case at hand in numerous

respects and does not provide a basis to dismiss Counts 1 through 6. While the Government’s

theory of prosecution might be novel and untested, the Court cannot conclude at this stage of the

case that it is an impermissible interpretation of the statute. The Indictment sufficiently alleges

six counts of deprivation of honest services in violation of the wire fraud statute, and

Defendants’ motion to dismiss these charges should be denied.

         B.     Motion to Strike Surplusage

         Defendants seek to strike paragraphs 7 and 8, which list the guidelines of the St. Paul

Police Department and the Ramsey County Sheriff’s Department; paragraphs 8, 9, and 10, which

list the Minnesota statutes; and paragraphs 13-32 and 34-39, which describe the alleged scheme

to defraud.

         Federal Rule of Criminal Procedure 7(d) permits a court to strike surplusage from an

indictment on a defendant’s motion. “A motion to strike surplusage from an indictment is

addressed to the sound discretion of the District Court and should be granted only where it is

clear that the allegations contained therein are not relevant to the charge made or contain

inflammatory and prejudicial matter.” Dranow v. United States, 307 F.2d 545, 558 (8th Cir.

1962).

         Defendants’ motion to strike paragraphs 7, 8, 9, and 10 is based on their view that

violations of state law and departmental guidelines cannot be the basis for a charge of

deprivation of honest services. As noted above, that position is partly incorrect and partly

unsettled, and thus, it is not clear that the challenged allegations are irrelevant or that they

contain inflammatory and prejudicial material.

         Defendants relatedly argue that the Government is seeking to criminalize violations of

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departmental regulations and state civil statutes, citing State v. Serstock, 402 N.W.2d 514

(1987), and Gonzales v. Oregon, 546 U.S. 243 (2006). However, neither of these cases dealt

with the honest services theory of wire fraud, and the Court finds them inapplicable to this case.

Moreover, Jennings provides clear support to the contrary. The court in Jennings endorsed the

position that a violation of a state campaign finance disclosure statute—a civil statute—would be

proof of a public official’s intent to defraud the public of its right to the official’s honest services

under § 1346. 487 F.3d at 578.

        Defendants also move to strike the narrative description of the alleged fraudulent scheme

as “slanted and forced.” (Def. Rehak’s Mot. Strike Surplusage at 3.) However, “slanted and

forced” is not the standard; the question is whether the language is “inflammatory and

prejudicial.” The Court finds that the narrative contains no inordinate prejudicial or passionate

language; it plainly, albeit comprehensively, describes the facts comprising the alleged scheme.

And while such verbose indictments are not the norm, the Court cannot say they are unheard of,

especially in cases alleging a fraudulent scheme. As long as the Government’s evidence at trial

parallels the factual allegations, the surplusage is not inflammatory or prejudicial. See United

States v. Figueroa, 900 F.2d 1211, 1218 (8th Cir. 1990).

        Finally, it appears that Defendants’ real concern is that the entire Indictment will be read

to the jury in order to unduly influence it. To alleviate this concern, Defendants can move for a

jury instruction that the Indictment’s allegations are not evidence, see id., or raise this issue in

some other manner with the District Court at trial. Defendants’ motion to strike surplusage

should be denied.

        C.      Motion to Dismiss Count 7

        Defendants move to dismiss Count 7 of the Indictment, which alleges a violation of 18

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U.S.C. § 641. This statute provides in pertinent part:

       Whoever embezzles, steals, purloins, or knowingly converts to his use or the use
       of another, or without authority, sells, conveys or disposes of any record, voucher,
       money, or thing of value of the United States or of any department or agency
       thereof, or any property made or being made under contract for the United States
       or any department or agency thereof; or

       Whoever receives, conceals, or retains the same with intent to convert it to his use
       or gain, knowing it to have been embezzled, stolen, purloined or converted–

       Shall be fined under this title or imprisoned not more than ten years, or both; but
       if the value of such property in the aggregate, combining amounts from all the
       counts for which the defendant is convicted in a single case, does not exceed the
       sum of $1,000, he shall be fined under this title or imprisoned not more than one
       year, or both.

18 U.S.C. § 641. Defendants argue that the alleged taking of money was temporary in nature

and that a temporary taking is not prohibited by § 641.

       Although it is true that the Eighth Circuit has not expressly held that an act proscribed by

§ 641 may be temporary in nature, the Court finds the Supreme Court case of Morissette v.

United States, 342 U.S. 246 (1952), instructive.

       Conversion . . . may be consummated without any intent to keep and without any
       wrongful taking, where the initial possession by the converter was entirely lawful.
       Conversion may include misuse or abuse of property. It may reach use in an
       unauthorized manner or to an unauthorized extent of property placed in one's
       custody for limited use. Money rightfully taken into one’s custody may be
       converted without any intent to keep or embezzle it merely by commingling it
       with the custodian’s own, if he was under a duty to keep it separate and intact. It
       is not difficult to think of intentional and knowing abuses and unauthorized uses
       of government property that might be knowing conversions but which could not
       be reached as embezzlement, stealing or purloining.

Id. at 271-72. Thus, even if the evidence at trial shows that Defendants never intended to

permanently possess the money and in fact returned it, it is still possible for the Government to

prevail under a conversion theory.

       Moreover, other circuit courts of appeal have held that a temporary taking can constitute

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theft or stealing. See United States v. Jackson, 401 F.3d 747, 749 (6th Cir. 2005) (stating that a

permanent deprivation is not required to support a conclusion that property was stolen); United

States v. Sparkman, 112 F. App’x 358, 360 (5th Cir. 2004) (expressly holding that a temporary

taking of government funds violates § 641). Accordingly, Defendants’ motion to dismiss Count

7 should be denied.

       D.      Motion to Dismiss Count 8

       Court 8 alleges that Defendants, acting under color of state law, conspired with each

other to deprive the citizens of Minnesota of property without due process, in violation of 18

U.S.C. § 241. Section 241 prohibits two or more people from conspiring to oppress, injure,

threaten, or intimidate any person “in the free exercise or enjoyment of any right or privilege

secured to him by the Constitution or laws of the United States . . . .” 18 U.S.C. § 241.

       Defendants first seek dismissal of the § 241 conspiracy charge on the basis that the

retention of cash and failure to record it on the inventory sheet was an exercise of their discretion

as police officers, which shields them from prosecution. While this argument may be a defense

in the civil context, Defendants have not provided any authority that this is a basis on which to

dismiss a criminal charge.

       Defendants also argue that a retention of money for a short period of time does not equate

to a due process violation of constitutional magnitude. However, conspiracy is the gravamen of

the charge brought under § 241, see Walker v. United States, 93 F.2d 383, 387 (8th Cir. 1937)

(citations omitted), not the underlying constitutional right. The agreement is the crux of a

conspiracy charge, “regardless of whether the crime agreed upon actually is committed.” United

States v. Feola, 420 U.S. 671, 694 (1975); see also United States v. Lee, 6 F.3d 1297, 1307 (8th

Cir. 1993) (per curiam) (Lay, J., concurring and dissenting) (“In prosecuting a criminal

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conspiracy case, the evidence of what actually occurred does not necessarily defeat proof of the

conspiracy. The focus must be on the agreement and on what [the conspirators] intended.”).

Although the Indictment alleges the temporary taking of $6,000 as an overt act, this allegation

was not even required as the Government need not prove an overt act to obtain a conviction

under § 241. See Smith v. United States, 157 F. 721, 725-26 (8th Cir. 1907); United States v.

Morado, 454 F.2d 167, 169 (5th Cir. 1972) (to prove a § 241 conspiracy to injure the federally

protected rights of voters, the government did not have to show that the objective was achieved,

that a single vote was cast, or even that an election occurred at all); see also Manual of Model

Criminal Jury Instructions for the District Courts of the Eighth Circuit § 5.06A n.2 (2008) (“An

overt act is not required in conspiracies charged under . . . 18 U.S.C. §[] 241 . . . .”). Given that

the Government need not prove that a violation of due process actually occurred, it is

inconsequential whether the temporary taking actually violated due process.

       On a motion to dismiss the indictment, the question is whether the indictment sufficiently

alleges an offense against the defendant. “[A]n indictment is sufficient if it, first, contains the

elements of the offense charged and fairly informs a defendant of the charge against which he

must defend, and, second, enables him to plead an acquittal or conviction in bar of future

prosecutions for the same offense.” Hamling v. United States, 418 U.S. 87, 117 (1974). The

Indictment in this case alleges that Defendants, while acting under color of state law, willfully

conspired to injure persons in Minnesota in their free exercise and enjoyment of the

constitutional right not to be deprived of property without due process of law. This language

closely tracks the language of the charging statute and identifies the constitutional right affected;

as such, the Indictment fairly informs Defendants of the charge against which they must defend

and enables them to plead an acquittal or conviction as a bar to any future prosecution. This is

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all that is required to sufficiently allege a violation of 18 U.S.C. § 241, and Defendant’s motion

to dismiss Count 8 should be denied.

          E.     Defendant Naylon’s Motion to Suppress Evidence

          Defendant Naylon moves to suppress evidence seized from his office and department-

issued vehicle. He directs the Court to two cases in support of his request, Chapman v. United

States, 365 U.S. 610 (1961), and United States v. Speights, 557 F.2d 362 (3rd Cir. 1977). In

Chapman, the police entered the defendant’s rented house after obtaining the consent of his

landlord and discovered contraband inside. 365 U.S. at 612. The Court held that the officers

should have obtained a search warrant, and that the landlord did not have the authority to consent

to the search. Id. at 615-17. Chapman is inapposite for several reasons. The search in the

present case was not of a residence, but a department-issued vehicle and an office located at the

Ramsey County Sheriff’s Department. In addition, Sheriff Fletcher, who consented to the

searches, had the authority to do so pursuant to departmental policy and in his capacity as

Sheriff.

          In Speights, a prosecutor learned that a police officer had a sawed-off shotgun in his

police locker. 557 F.2d at 362. The prosecutor asked the police chief for permission to break

the personal and police-issued locks on the locker. Id. There was no policy concerning the use

of personal locks on police lockers, and there was no policy alerting officers that their lockers

could be searched. Id. at 363. The court found that the defendant had a reasonable expectation

of privacy in the locker and that the shotgun should have been suppressed. Id. at 363-64. This

case is distinguishable because of the departmental policy in effect, which alerted employees that

all departmental property, including desks and vehicles, could be searched at any time without

notice.

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       The crucial difference between this case and those cited by Defendant Naylon is that

neither the landlord in Chapman nor the police chief in Speights had the authority to consent to

the search. At oral argument on Defendant Naylon’s motion to suppress, his attorney conceded

that Sheriff Fletcher had the authority to consent to the search of the office and vehicle, but

asserted that the better practice would have been for the agents to obtain a search warrant.

However, merely because the agents could have obtained a search warrant, or that it would have

been preferable, does not mean they had to do so. A valid consent to search is an exception to

the warrant requirement, see United States v. Sanders, 424 F.3d 768, 773 (8th Cir. 2005)

(citation omitted), and Sheriff Fletcher’s consent was valid.

       Defendant Naylon also argues that his children’s consent was invalid. He contends that

they had no choice but to consent and that they were not advised that they could refuse consent.

Police officers may conduct a search without a warrant “if they obtain a voluntary consent from

someone possessing adequate authority over the area.” United States v. Chaidez, 906 F.2d 377,

380 (8th Cir. 1990) (citing United States v. Matlock, 415 U.S. 164, 171 & n.7 (1974);

Schneckloth v. Bustamonte, 412 U.S. 218, 222 (1973)). Here, the Court finds that Defendant

Naylon’s adult children had the authority to consent to the search. Defendant Naylon was on

vacation in Florida, and his children either lived at the home or were staying there temporarily.

A reasonable officer would have concluded that the Naylon children had authority over the

residence in the absence of their father.

       Whether consent was voluntarily given depends on the totality of the circumstances,

including the characteristics of the person and the context of the encounter. Id. (citing

Bustamonte, 412 U.S. at 226). Regarding the characteristics of the individual, a court must

consider a person’s age, intelligence, and education; whether he was under the influence of drugs

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or intoxicated; whether he was advised of his Miranda rights; and whether he was aware of legal

protections because of previous arrests. Id. at 381 (citations omitted). In examining the context

in which the consent was obtained, a court should consider the length of time that the person was

detained and questioned; whether the person was threatened, intimidated, or punished; whether

the police made promises or misrepresentations on which the individual relied; the person’s

custodial status; whether the encounter was in a public or a secluded place; and whether the

person objected to the search or stood by silently. Id. (citations omitted).

       In the present case, the Naylon children were both adults at the time they gave their

consent. There is no evidence in the record regarding their intelligence, educational background,

or whether they appeared to be under the influence. Although they were not advised of their

Miranda rights, they were not in custody or interrogated. During the search, Marco Naylon

freely moved between the garage and house and was allowed to use the telephone. Marco

Naylon had one previous encounter with the police during which he was arrested. The Naylon

children were not threatened, intimidated, or punished, and the agents made no promises or

misrepresentations. The encounter took place in a familiar place, their home, and they did not

object to the search at any time. Nor did Defendant Naylon’s lawyer object to the search or

instruct Marco Naylon that he should withdraw his consent. Upon examination of the relevant

factors, the Court concludes that Defendant Naylon’s children voluntarily consented to the

agents’ entry onto the property and the search of his car.



III.   RECOMMENDATION

       Based upon all the files, records, and proceedings herein, IT IS HEREBY

RECOMMENDED that:

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       1.      Timothy Conrad Rehak’s Motion to Dismiss Counts 1 Through 6 (Doc. No. 22)

               be DENIED;

       2.      Timothy Conrad Rehak’s Motion to Dismiss Count 7 (Doc. No. 23) be DENIED;

       3.      Timothy Conrad Rehak’s Motion to Dismiss Count 8 (Doc. No. 24) be DENIED;

       4.      Defendant Timothy Conrad Rehak’s Motion to Strike Surplusage (Doc. No. 25)

               be DENIED; and

       5.      Defendant Mark Paul Naylon’s Motion to Suppress Evidence (Doc. No. 34) be

               DENIED.



Dated: June 5, 2008
                                                       s/ Susan Richard Nelson
                                                     SUSAN RICHARD NELSON
                                                     United States Magistrate Judge



Pursuant to D. Minn. LR 72.2(b), any party may object to this Report and Recommendation by
filing with the Clerk of Court, and serving all parties by June 20, 2008, a writing which
specifically identifies those portions of this Report to which objections are made and the basis of
those objections. Failure to comply with this procedure may operate as a forfeiture of the
objecting party’s right to seek review in the Court of Appeals. A party may respond to the
objecting party’s brief within ten days after service thereof. A judge shall make a de novo
determination of those portions to which objection is made. This Report and Recommendation
does not constitute an order or judgment of the District Court, and it is therefore not appealable
to the Court of Appeals.




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